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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

              Plaintiffs,

      v.                                         Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,

              Defendants.


                                         ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that Defendant My Pillow, Inc.’s Motion to Dismiss, ECF No. 30, is

DENIED; it is further

       ORDERED that Defendant Lindell’s Motion to Dismiss, ECF No. 34, is DENIED.



DATE: August 11, 2021
                                                        CARL J. NICHOLS
                                                        United States District Judge




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